UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

F Four, LLC, Joseph L. Corbett, and
Morris E. Turek

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Plaintiff,

v. Case No.

Sam Page, Emily Doucette, and Beth
Orwick

Defendant,

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ORIGINAL FILING FORM

THIS FORM MUST BE COMPLETED AND VERIFIED BY THE FILING PARTY
WHEN INITIATING A NEW CASE.

[-] _ THIS SAME CAUSE, OR A SUBSTANTIALLY EQUIVALENT COMPLAINT, WAS
PREVIOUSLY FILED IN THIS COURT AS CASE NUMBER

AND ASSIGNED TO THE HONORABLE JUDGE

 

THIS CAUSE IS RELATED, BUT IS NOT SUBSTANTIALLY EQUIVALENT TO ANY
PREVIOUSLY FILED COMPLAINT. THE RELATED CASE NUMBER IS 4-20-cv-00655 AND
THAT CASE WAS ASSIGNED TO THE HONORABLE (not assigned as offiling) =» THIS CASE MAY,

THEREFORE, BE OPENED AS AN ORIGINAL PROCEEDING.

Ol NEITHER THIS SAME CAUSE, NOR A SUBSTANTIALLY EQUIVALENT
COMPLAINT, HAS BEEN PREVIOUSLY FILED IN THIS COURT, AND THEREFORE

MAY BE OPENED AS AN ORIGINAL PROCEEDING.

The undersigned affirms that the information provided abov up ptrect.
Date: &# 4, YE 40

~ ” Agnature of Filing Party

   
